               Case 1:05-cr-00350-LJO Document 33 Filed 10/28/05 Page 1 of 2


 1   JOHN F. GARLAND #117554
     Attorney at Law
 2   1713 Tulare Street, Suite 221
     Fresno, California 93721
 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant,
 5   MARIA DEL SOCORRO MEDRANO
 6
 7                                UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,        )           Case No. 1: 05 CR 00350 AWI
                                      )
11          Plaintiff,                )            STIPULATION TO CONTINUE DATE
                                      )             TO POST PROPERTY BOND
12               v.                   )             AND ORDER THEREON
                                      )
13   MARIA DEL SOCORRO MEDRANO, )
                                      )
14          Defendant.                 )
     _________________________________)
15
16          The defendant, MARIA DEL SOCORRO MEDRANO, through her counsel, John F.
17   Garland, and the United States of America, through its counsel, McGregor W. Scott, United
18   States Attorney and Kevin P. Rooney, Assistant United States Attorney, hereby stipulate to
19   continue the date on which the defendant shall post a $50,000 property bond secured by the
20   equity in property owned by Javier Medrano and Maria Del Socorro Medrano from October 26,
21   2005 to November 10, 2005.
22
23   Dated: October 26, 2005                                   /s/ John F. Garland
                                                             JOHN F. GARLAND
24                                                           Attorney for Defendant
25   Dated: October 26, 2005                                  McGregor W. Scott
                                                              United States Attorney
26
27                                                            /s/ Kevin P. Rooney_
                                                            By: KEVIN P. ROONEY
28                                                          Assistant U.S. Attorney


                                                    1
              Case 1:05-cr-00350-LJO Document 33 Filed 10/28/05 Page 2 of 2


 1                                        ORDER
 2         GOOD CAUSE APPEARING, based on the stipulation of the parties,
 3   IS HEREBY ORDERED that the date on which the defendant shall post a $50,000 property
 4   bond is continued to November 10, 2005.
 5
 6   Dated: October 27, 2005                        _____/s/ Dennis L. Beck____
                                                       Honorable Dennis L. Beck
 7                                                    United States Magistrate Judge
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                2
